            Case 3:15-bk-02248-JAF     Doc 532    Filed 11/30/17   Page 1 of 2



                                     ORDERED.


     Dated: November 30, 2017




                        UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION
                                www.flmb.uscourts.gov

In re:

Climate Control Mechanical Services, Inc.        Case 3:15-bk-02248-JAF
                                                 (Jointly Administered With)
Base 3, LLC                                      Case 3:15-bk-02249-JAF
The Alexander Group, LLC                         Case 3:15-bk-02250-JAF
Facility Performance, LLC                        Case 3:15-bk-05021-JAF

         Debtors.                                Chapter 11


                         ORDER GRANTING MOTION
               FOR ADDITIONAL EXTENSION OF TIME TO COMPLY
             WITH ORDER CONDITIONALLY DENYING UNITED STATES
           TRUSTEE'S MOTION TO DISMISS OR CONVERT THE CASES OF
          CLIMATE CONTROL MECHANICAL SERVICES, INC., BASE 3, LLC,
         THE ALEXANDER GROUP, LLC, AND FACILITY PERFORMANCE, LLC

         BEFORE THE COURT is the Motion for additional Extension of Time to Comply

with Order Conditionally Denying United States Trustee's Motion to Dismiss or Convert

the Cases of Climate Control Mechanical Services, Inc., Base 3, LLC, The Alexander

Group, LLC, and Facility Performance, LLC [Doc.#530] (the “Motion”) . Upon

consideration of the Motion, it is ORDERED:

         1. The Motion is granted.

         2. Debtors are granted an extension of time to comply with the Order
          Case 3:15-bk-02248-JAF       Doc 532    Filed 11/30/17   Page 2 of 2



Conditionally Denying United States Trustee's Motion to Dismiss or Convert the Cases

of Climate Control Mechanical Services, Inc., Base 3, LLC, The Alexander Group, LLC,

and Facility Performance, LLC [Doc. #495] (the “Order”).

      3. Debtors shall pay all outstanding United States Trustees fees as required by

the Order on or before December 8, 2017.

      4. Failure to pay all outstanding United States Trustees fees on or before

December 1, 2017 will result in the conversion to chapter 7 or the dismissal of these

cases upon the filing of a Verified Statement by the United States Trustee indicating

noncompliance as set forth in the Order.

                                           ####

       Attorney Richard A. Perry is directed to serve a copy of this order on interested
parties who are non-CM/ECF users and file a proof of service within 3 days of entry of
this order.
